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   1                        UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
   2                             SOUTHERN DIVISION

   3

   4    UNITED STATES OF AMERICA,

   5                       Plaintiff,

   6    -v-                                                Case No. 18-cr-20594

   7
        D-3:    ANDREW LEE ADCOCK,
   8
                       Defendant.
   9    ___________________________/

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  11
                                    SENTENCING HEARING
  12
                     BEFORE THE HONORABLE LAURIE J. MICHELSON
  13
                   Flint, Michigan, Wednesday, July 31st, 2019.
  14

  15
        APPEARANCES:
  16
        FOR THE PLAINTIFF:             BLAINE T. LONGSWORTH
  17                                   U.S. DEPARTMENT OF JUSTICE
                                       600 South Church Street
  18                                   Flint, MI 48502

  19
        FOR THE DEFENDANT:             JEROME SABBOTA
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  23

  24    David B. Yarbrough, CSR, FCRR
        Official Court Reporter
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   1             Flint, Michigan.

   2             Wednesday, July 31st, 2019.

   3             At or about 3:30 p.m.

   4                                  --      ---      --

   5                THE CLERK OF THE COURT:          All rise.   The United States

   6    District Court for the Eastern District of Michigan is now in

   7    session, the Honorable Laurie J. Michelson presiding.                Please

   8    be seated.

   9                The Court calls case number 18-20594, United States

  10    of America versus Andrew Adcock.            Counsel, please put your

  11    appearances on the record.

  12                MR. LONGSWORTH:        Good afternoon, your Honor.       Blaine

  13    Longsworth appearing on behalf of the United States.

  14                MR. SABBOTA:     Good afternoon.        Jerome Sabbota

  15    appearing with Mr. Adcock.

  16                THE COURT:     All right.       Good afternoon, Counsel.

  17    Good afternoon, Mr. Adcock.          You may be seated.     Mr. Adcock has

  18    been charged in a multi-defendant, multi-count indictment with

  19    gun and drug charges.       On March 27, 2019 I accepted his guilty

  20    plea to count six, possession of a firearm by a prohibited

  21    person and count 12, carrying a firearm during and in relation

  22    to a drug trafficking crime in violation of 18 United States

  23    Code, Section 924(c).       The plea deal also involved relevant

  24    conduct involving the sale of another firearm and drugs.

  25                I took the Rule 11 Plea Agreement under advisement
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   1    and referred the matter to the probation department for the

   2    preparation of a presentence report.          That report has been

   3    prepared and we are here this afternoon for the sentencing and

   4    so Mr. Sabbota, I first just want to make sure that you and

   5    Mr. Adcock have received the presentence report and that you

   6    had an opportunity to review it and to discuss it?

   7                MR. SABBOTA:     Yes, we have.

   8                THE COURT:     And Mr. Adcock, did you have an

   9    opportunity to ask your lawyer any and all questions that you

  10    may have had about the presentence report?

  11                THE DEFENDANT:     Yes, ma'am, I did.

  12                THE COURT:     Was he able to answer those questions for

  13    you?

  14                THE DEFENDANT:     Yes, ma'am, he was.

  15                THE COURT:     Before we continue with the sentencing

  16    this afternoon, do you feel that you need or want any

  17    additional time to discuss any aspect of the presentence report

  18    with your lawyer?

  19                THE DEFENDANT:     No, ma'am, I do not.

  20                THE COURT:     And I did not receive any objections from

  21    the parties so Mr. Sabbota, does the defendant have any

  22    disagreements with, corrections or additions to the presentence

  23    report?

  24                MR. SABBOTA:     No, he does not.

  25                THE COURT:     And Mr. Longsworth, did the government
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   1    have an opportunity to review the presentence report?

   2                MR. LONGSWORTH:     Yes, your Honor.

   3                THE COURT:    And does the government have any

   4    disagreements with, corrections or additions to the content of

   5    the report?

   6                MR. LONGSWORTH:     None, your Honor.

   7                THE COURT:    All right, thank you.       Because this is a

   8    little bit of a complicated calculation of the guidelines

   9    range, I'm going do that first before I hear from the parties

  10    and I'll advise the parties that I also have received the

  11    presentence report.       I've also received and carefully reviewed

  12    the parties' sentencing memorandums, the defendant's memorandum

  13    included a psychological report from Dr. Segrue, S-e-g-r-u-e.

  14    I also received the letter from Mr. Adcock's father and a

  15    letter from his brother.        I've not received any other materials

  16    regarding the sentencing and so except as otherwise stated I am

  17    going to accept the presentence report as my findings of fact.

  18                In terms of calculating the sentencing guidelines

  19    range for count six, the base offense level for a prohibited

  20    person possessing a gun who has a prior conviction for drug

  21    offense is 20.      There's a two-level enhancement because the

  22    offense involved three firearms, the two firearms that

  23    Mr. Adcock sold on June 19th, 2015 and the guns sold on June

  24    26th, 2015.     Another two-level enhancement because the 40

  25    caliber Smith and Wesson was stolen and a four-level
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   1    enhancement because the offense involved trafficking of two

   2    firearms for an adjustment offense level of 28.

   3                Mr. Adcock is entitled to a three-level reduction for

   4    his timely acceptance of responsibility for an offense level of

   5    25.    His prior convictions and the fact that he committed the

   6    present offense while under a criminal justice sentence for

   7    another drug offense puts him in a criminal history category

   8    six.    A base offense level of 25 and criminal history category

   9    of six results in an advisory guidelines prison range of 110 to

  10    137 months.     The statutory maximum though for that offense is

  11    120 months so the range becomes 110 to 120 months.

  12                Under Section 2K2.4 of the sentencing guidelines, the

  13    guideline sentence for the 924(c) conviction is the term of

  14    imprisonment required by the statute which in this case is a

  15    mandatory minimum of five years, up to life.            So adding in the

  16    60 months, the five years from count 12, the presentence report

  17    calculates an advisory guideline range of 170 to 180 months.

  18    That's the 110 to 120 on count six plus the automatic 60 on

  19    count 12 gets to you 170 to 180.         That's higher than the range

  20    calculated in the parties' Rule 11 Plea Agreement of 152 to 175

  21    months.    The difference is the enhancement for the defendant

  22    possessing three firearms.        I agree with that enhancement,

  23    there's been no objection to that enhancement so I am accepting

  24    the calculation in the presentence report of 170 to 180 months.

  25    Is there any objection to that calculation, Mr. Longsworth?
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   1                MR. LONGSWORTH:        No, your Honor.

   2                THE COURT:     And Mr. Sabbota?

   3                MR. SABBOTA:     No.

   4                THE COURT:     The parties' Rule 11 Plea Agreement

   5    provides that if I accept the agreement, I may not sentence

   6    Mr. Adcock to more than the bottom of the guideline range set

   7    forth in the agreement which would be 152 months and because

   8    that would require a downward variance from the calculated

   9    guidelines range, I do want to hear from the parties first

  10    before I decide whether to accept the Rule 11 Plea Agreement.

  11    So at this time, Mr. Longsworth, do you wish to make any

  12    remarks on behalf of the government?

  13                MR. LONGSWORTH:        I do, your Honor, and to begin with,

  14    the parties do have a stipulation that we would like to put on

  15    the record at this time.

  16                THE COURT:     All right.

  17                MR. LONGSWORTH:        Since the defendant entered his

  18    guilty plea, there's been a change in the law.            The Supreme

  19    Court handed down a decision that added an element to the

  20    offense of felon in possession of a firearm and with respect to

  21    count six in this case, your Honor, the parties agree and

  22    stipulate that in June of 2015 as the indictment alleges, the

  23    defendant had, knew that he had been previously convicted in

  24    court of a crime punishable by imprisonment for a term

  25    exceeding one year.
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   1                THE COURT:     All right.     Mr. Sabbota?

   2                MR. SABBOTA:     Yes.   I've spoken with Mr. Adcock about

   3    that and he knows that he was not eligible to possess a

   4    firearm.     He has no objection with the stipulation.

   5                THE DEFENDANT:     I don't.

   6                THE COURT:     And Mr. Adcock, you had an opportunity to

   7    discuss this stipulation with your lawyer before you entered

   8    into it?

   9                THE DEFENDANT:     Yes, ma'am, I did.

  10                THE COURT:     And you are agreeing that at the time you

  11    possessed the firearm, you knew that you had previously been

  12    convicted of a crime for which you were subject to punishment

  13    of more than a year?

  14                THE DEFENDANT:     Yes, ma'am, I knew that.

  15                THE COURT:     All right, very good.      I will accept the

  16    stipulation.

  17                MR. LONGSWORTH:     Thank you, your Honor.

  18                THE COURT:     All right, thank you.

  19                MR. LONGSWORTH:     In terms the sentencing in this

  20    case, your Honor, we'd also ask that the Court include

  21    forfeiture the firearms and ammunition.           I believe a

  22    preliminary order of forfeiture was entered on June, umm, or

  23    July 15th 2019 and that's docket number 68.

  24                THE COURT:     And Mr. Sabbota, is there any objection

  25    to that forfeiture language that was docketed?
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   1                MR. SABBOTA:     No, there's not.

   2                THE COURT:     All right.    Then we will put that

   3    forfeiture language, we'll include that in the final judgment.

   4                MR. LONGSWORTH:     And your Honor, with respect to the

   5    3553 (a) sentencing factors, the government relies on the

   6    sentencing memorandum that we have provided to the Court that

   7    sets forth the nature the defendant's crimes, his

   8    characteristics and his criminal history.

   9                There is something, though, that occurred recently

  10    that I think is relevant to the sentencing and it was not

  11    included in the government's sentencing memorandum and one of

  12    the factors that the Court is supposed to consider is the need

  13    to avoid unwarranted sentencing disparities among defendants

  14    with similar records who have been found guilty of similar

  15    conduct and I would direct the Court to a case that your Honor

  16    sentenced a defendant to last week.          It's case number

  17    18-cr-20598.     The defendant's name was Robert Hensley.           It was

  18    a case that arose out of the very same investigation and that,

  19    Mr. Hensley was convicted of two similar counts, one of 924(c)

  20    and a second of felon in possession of a firearm and in the

  21    same vain, Mr. Hensley committed his offenses in 2015.              After

  22    he committed his offenses, he committed a completely unrelated

  23    offense in 2016, was convicted of that unrelated offense and

  24    began serving a prison sentence for which he is currently

  25    serving.     In 2018, the government brought charges against
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    1    Mr. Hensley for the conduct that occurred in 2015.             That very

    2    same scenario has occurred in this case.

    3               The investigation occurred in 2015; the counts that

    4    the defendant, Mr. Adcock, is now pleading guilty to occurred

    5    in June and July of 2015.        Since that moment, he committed

    6    another offense and he was charged in state court for conduct

    7    that occurred in December of 2015 and he's been serving a

    8    firearm sentence of at least five years in state prison as a

    9    result of the conduct that occurred in December of 2015.

  10     Charges were not brought by the government in this case until

  11     2018 and he recently pled guilty in March of this year and so I

  12     bring that case to the Court's attention because the guidelines

  13     were the same for the 924(c) count which of course are 60

  14     months, but with respect to the felon in possession count, the

  15     guidelines for Mr. Hensley were 70 to 87 months and the Court

  16     sentenced Mr. Hensley to 16 months on that count for a total

  17     sentence of 76 months and I think that's simply a case that the

  18     Court could consider in assessing this issue of whether to

  19     avoid unwanted sentencing disparities and with that, I have

  20     nothing further to add in addition to what's in the

  21     government's sentencing memorandum.

  22                THE COURT:     All right, thank you Mr. Longsworth and

  23     Mr. Sabbota, I'll ask you and Mr. Adcock if you'd come to the

  24     podium for me, please?       And Mr. Sabbota, I'll start with you

  25     and see if you wish to make any remarks on Mr. Adcock's behalf?
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    1                MR. SABBOTA:    I do, your Honor.      I agree with what

    2    the government has just said.        Their sentencing recommendation

    3    is I believe 152 months in their sentencing memo.            If you look

    4    at the scenario that occurred is Mr. Adcock committed these

    5    offenses prior to committing the offense which 'caused him to

    6    go to the Michigan State Department of Corrections so had he

    7    been arrested and for whatever reason he wasn't, perhaps he

    8    wouldn't be in this situation that he's in now.

    9                So he commits this other offense which is again a gun

  10     offense.     He's given a five-year mandatory minimum.          That means

  11     that that's a consecutive sentence to whatever sentence is

  12     imposed, so that's five years.         There's nothing anybody can do

  13     about that.     There's also a violation of parole because he was

  14     on parole at the time from 2012 for a drug offense so the

  15     parole is still lingering there.         So his out date totally is I

  16     think 2038.

  17                 Now this Court's got no control over that.          Nobody

  18     has any control over that and that's really the red herring

  19     here because we don't really know what the Department of

  20     Corrections is going do.       Obviously the Michigan Department of

  21     Corrections has to keep him for five years and then we don't

  22     know what's going to happen when he goes before the parole

  23     board.     I believe the parole board will give him what they call

  24     a flop where they're not going to release him right away.

  25     They're going to give him a term of years which will be in
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    1    addition to the 60 months that he's serving in the Michigan

    2    Department of Corrections.        Now those sentences will occur --

    3    no matter what you impose, those sentences are going to incur

    4    and are consecutive to the gun charge, the use of the firearm

    5    in this case because the statute requires that to be a 60 month

    6    sentence.     The felon in possession the Court I believe can

    7    sentence him concurrently to adjust that disparity.

    8                I had -- my sentencing memorandum really outlines who

    9    Mr. Adcock is.     He's had a terrible upbringing.         His family is

  10     here in support.      I provided a letter to the Court that I

  11     received today from the father.         He has no relationship with

  12     his father.     He's kind of surprised his father's here.

  13                 As to his mother, Dr. Segrue and the probation

  14     department have verified her behavior as well as the father's

  15     behavior which created him really.         I mean, 10 years old he's

  16     on the street.     He's in foster care.       He goes to his

  17     grandmother's house.       He stops going to school at 12 or 13.

  18     For whatever reason nobody forces him to go to school.              He's a

  19     victim of what you'd call educational neglect and then when

  20     he's in here being taken care of by his grandmother, he runs

  21     the streets and he takes care of himself so he learns to behave

  22     illegally.    He had no support.       He had no father image.          He had

  23     no mother image.      He just took care of himself and eventually

  24     he goes to prison and as he described he goes to prison and

  25     when he they release him the first time he's in the prison in
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    1    the state system which is a lot different than the federal

    2    system.    The state system just releases him, he goes home.

    3    It's not like coming out of the state sys -- the federal system

    4    when you're on supervised release and they have all those

    5    vocational programs available to him which is something he

    6    wants to participate in.

    7               So when you talk about a variance, I believe the

    8    Court has to take into consideration number one, he should have

    9    been, really been arrested in July in 2015 which would have

  10     probably started him on a better course of rehabilitation.

  11     It's not his fault he wasn't arrested.          For whatever reason the

  12     government chose not to do so.         What happens is he then picks

  13     up another case which is a five-year mandatory minimum and now

  14     he stands before this Court.

  15                This Court in fashioning a sentence to comply with 18

  16     U.S.C., 3553(a) factors has to formulate a sentence which is

  17     sufficient, but necessary to comply with those purposes.                I

  18     think it's going to be hard and the only reason I say that is

  19     because the unknown is the state sentence.           We know of the five

  20     years, but we don't know what the parole department's going to

  21     do or the Michigan Department of Corrections and so I'm asking

  22     that the Court, number one vary it.          I ask the Court for a

  23     12-year sentence totally, but the 60 months he's got to do

  24     consecutive, we all know that, no matter what they do in the

  25     state sentence.     I believe the Court can adjust the 60 month
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    1    sentence I'm asking for the felon in possession case so it

    2    adequately covers the guidelines and adequately reflects the

    3    purposes of 18 U.S.C., 3553(a) because of right now we're

    4    talking he's going to do a minimum, he's got 23 months on the

    5    state sentence and five years on the use of a firearm so that's

    6    about 73 months, 83 months right now before the felon in

    7    possession sentence.

    8               THE COURT:     You mean on count 12, the automatic five

    9    year on count 12 and then I think there's two years left on

  10     the, 2021 is the release --

  11                MR. SABBOTA:     Right, that's what I'm saying.         He gets

  12     six years on the use of a firearm during the -- the use of the

  13     firearm here in the drug trafficking --

  14                THE COURT:     Or five.    60 months, five years.

  15                MR. SABBOTA:     Five years, mandatory five.        I'm bad

  16     with the math when you do the 60 months.           That's five years and

  17     then he's got 23 months left on his state sentence so that's 83

  18     months right now.      I think the Court has and should take that

  19     into consideration when you determine what's sufficient.                So

  20     he's got 83 months and then he's got the felon in possession

  21     charge and what we don't know what the parole department's

  22     going to do in the state Department of Corrections.             So let's

  23     say they give him another five months -- five years rather

  24     because of the violation.        Because his parole is to 20 -- the

  25     parole can hold him until 2038 and that's the unknown and I
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    1    think that's where the real quandary is because there's no way

    2    for anybody to predict what they're going to do.            Thank you.

    3               THE COURT:     All right, thank you.      I appreciate it

    4    and Mr. Adcock, we talked at your change of plea hearing that

    5    you would have the opportunity if you wished to address the

    6    Court at sentencing before I imposed the sentence.             Is there

    7    anything that you would like to say at this time?

    8               THE DEFENDANT:     Yes, ma'am, there is.

    9               MR. SABBOTA:     He wants to read something, but he's

  10     very nervous.

  11                THE COURT:     Absolutely and take your time, whatever

  12     you'd like to do or say.

  13                THE DEFENDANT:     I'd like to say your Honor, I'm going

  14     to be honest and I'm going to express myself to the best of my

  15     ability.    I understand the nature of my offenses and I know

  16     what I was doing was --

  17                THE COURT:     And if you could just and I know it's

  18     hard and I know this is difficult, if you could try to go a

  19     little slower because we do need to have the court reporter

  20     take this down.

  21                THE DEFENDANT:     Yeah.    I said your Honor, I'm going

  22     to be honest and I'm going to express myself to the best of my

  23     ability.    I understand the nature my offenses and I know what I

  24     was doing was wrong.       I just want to say that the person

  25     standing before you today is not the same person that committed
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    1    these offenses.     I was 20 years old when I made the decisions

    2    that landed me in prison.        I had no direction in life and made

    3    choices without any regard to myself or anyone around me.

    4                Today I stand before you as an individual who's made

    5    a lot mistakes, but has been humbled through my transgressions.

    6    Next month I'll be 25 and in December I'll be starting my

    7    seventh year in prison.       I've spent my whole adult life in

    8    prison.    I've seen the worst the world has to offer and I know

    9    this ain't the life I want for myself.          Fortunately I'm blessed

  10     to have a strong and supportive family who has encouraged me

  11     and watched me grow from a boy that created so many problems in

  12     his life to the man I am today who is waiting for a chance to

  13     be all I can be and eager to live a life I can be proud of.

  14                 I've taken every opportunity that's been available to

  15     me by participating in the many programs I completed in the

  16     MDOC.     I will not stop striving to be a better me for family

  17     and loved ones.     I'm engaged to be married to beautiful fiance

  18     that supported me through all the chaos and continues to be a

  19     person of influence in my life.         This is the third time my

  20     mother has watched me be sentence under our country's mandatory

  21     minimum laws.     There will not be another.

  22                 I have two children who will likely be grown before I

  23     make it back home.      The hardest part of this sentence is

  24     knowing that I will never get the chance to correct some wrongs

  25     I've done.    For the past three and-a-half years I've been
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    1    promising my son that I'll be there for his eighth birthday.                I

    2    don't know how I'm going to be able to explain to him that I'm

    3    not going to be able to make it.         I've made so many promises

    4    that I'm unable to keep that it makes me feel like I'm less of

    5    a man.

    6               I've been planning a life outside these concrete

    7    walls since the day I stepped through the gate so you can

    8    imagine the heartache and stress I'm going through being

    9    prosecuted three and-a-half years into a sentence and then

  10     having the sentences stacked on top of each other, to finish

  11     one only to start another.        I know it's choices I've made, but

  12     I can't help feel like all my ambitions and hopes were snatched

  13     away.    I feel like how far I came and everything I've been

  14     working towards was for nothing.         I know this is a negative way

  15     to look at things, but I can't help the way I feel.             I've been

  16     in prison for 44 months and I have another 23 month before I

  17     can start the sentence imposed today.

  18                I stand before you asking for leniency for the

  19     reckless choices I made.       I'm not a bad person, your Honor,

  20     I've just made some bad choices in my short life.            Regardless

  21     of your sentence today, I will continue making choices that

  22     will enable me to change the course of my life.            Thank you for

  23     the chance to speak.

  24                THE COURT:     Thank you, Mr. Adcock.       I appreciate it.

  25     It's always helpful for me to be able to hear from you and get
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    1    as much information about you, get to learn as much as I can

    2    about you before I impose the sentence and I do want to take

    3    just a very short recess and I promise it won't be terribly

    4    long.   I need just a few minutes.        I'm going to take a five to

    5    10 minute recess.      I'll ask that you all remain in the

    6    courtroom.

    7               (Recess taken at 3:52 p.m.)

    8               (Reconvened at 4:00 p.m.)

    9               THE CLERK OF THE COURT:       All rise.     Court has

  10     reconvened in the case of United States versus Andrew Adcock

  11     case number 18-20594.       Counsel, please put your appearances on

  12     the record again.

  13                MR. LONGSWORTH:      Blaine Longsworth appearing on

  14     behalf of the United States.

  15                MR. SABBOTA:     If it please the court, Jerome Sabbota

  16     with Mr. Adcock.

  17                THE COURT:     All right, thank you.      You may be seated

  18     and thank you all for your patience and your remarks and again

  19     especially to you, Mr. Adcock.         They were very meaningful and

  20     impactful and so I wanted to take some time to consider

  21     everything that I have already read and everything that I have

  22     heard today and unfortunately, Mr. Adcock, we don't get to

  23     control our childhood and when your formative years are marked

  24     by abuse, neglect, lack of adult supervision, guidance,

  25     affection and stability, it's not uncommon that later in life
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    1    you get involved with the wrong people, make bad decisions and

    2    do destructive things and that's what happened in your young

    3    life and when I look at your history and characteristics and

    4    the nature and circumstances of this offense which are some of

    5    the sentencing factors that I have to consider in determining a

    6    sentence that is sufficient, but not greater than necessary to

    7    achieve the purposes of our sentencing laws, I'm not surprised

    8    that they go hand in hand here.

    9               Your parents as we know both suffered from drug

  10     addiction and neither one of them was able to take care of you

  11     and your brother.      You spent some difficult time with both

  12     including some time in an abusive environment, some time in

  13     foster care.     When you were just 10, you were abandoned and

  14     lived in a homeless shelter for a few weeks and tried again

  15     with your dad, but Protective Services had to again intervene.

  16     At age 11 you came to Flint to live with your grandmother, but

  17     she was not able to control you.         By age 12, you were a daily

  18     marijuana user and by age 15, a daily user of methamphetamine.

  19                You also suffered from probably untreated ADD,

  20     bi-polar disorder and dyslexia.         Now Dr. Segrue has diagnosed

  21     anti-social behavioral disorder so you did not do well in

  22     school and you didn't go to school very often.            You got

  23     involved with a dangerous street gang so by age 15 you were

  24     already in trouble with the law and that has remained a

  25     constant in your life.
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    1               By age 17 you had your first serious weapons offense,

    2    a stolen 12 gauged shotgun and methamphetamine-making supplies,

    3    was in a hotel room where you were found passed out.             Before

    4    you went to jail on that offense, you were caught selling

    5    methamphetamine at a gas station.

    6               You didn't do well in jail.        You had seven

    7    misconducts.     You were paroled in February 2015 and arrested in

    8    new charges in September of 2015 for fleeing and eluding police

    9    which also involved throwing hydrocodone pills out the window

  10     and we also now know that during the same time you were

  11     committing the instant offense of trafficking in guns and

  12     drugs.

  13                While you were on release for the fleeing alluding

  14     you cut the tether off and absconded until you were arrested on

  15     new gun and drug charges on December 5th, 2015 for being in a

  16     home with a loaded 357 magnum revolver and methamphetamine

  17     components.     You pled to the gun charge which we've talked

  18     about today has a mandatory five-year imprisonment term so

  19     there was a lot of criminal activity during that short time

  20     span and as a result, you're presently serving time in state

  21     court with a release date of anywhere from July 10, 2021 to

  22     February 8, 2038 because of as Mr. Sabbota indicated the

  23     unknown parole violation and again this time in jail has been

  24     problematic with 17 misconducts including possession of

  25     contraband and assaulting another inmate and now we have this
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    1    federal offense which is perhaps the most serious of all.               In

    2    fact, that it doesn't get much more serious and dangerous than

    3    a felon trafficking in firearms and controlled substances at

    4    the same time and doing it multiple times, but that seems to be

    5    how you supported yourself because there's no other real work

    6    history and as you told Dr. Segrue when you got out of jail,

    7    you had no real job skills, but had to support yourself and

    8    your family and you could make money selling guns and so all of

    9    that is difficult given the other sentencing factors that I

  10     have to consider.      It has to be a sentence that somehow gets

  11     you to start respecting the law.         It needs to be a sentence

  12     that given your history of repeat criminal conduct, somehow

  13     deters you and others like you from continuing to engage in

  14     this conduct.     It needs to be a sentence that protects the

  15     public from your dangerous conduct.          It needs to be a sentence

  16     that affords adequate punishment and it needs to be a sentence

  17     that gives you needed education, training and treatment.

  18                So your troubled upbringing led to substance abuse

  19     and gang involvement and efforts to survive that as a result at

  20     only age 24, nearly age 25, a history of committing crimes,

  21     violating Court's supervision and misbehaving in jail and Dr.

  22     Segrue explains it more in medical terms as you've set forth at

  23     page six of your sentencing memo.         So I, I know how you got

  24     here and the picture to date has not been pretty, but I also

  25     know there's much more to you and you explained very well in
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    1    your remarks this afternoon that you know there's much more to

    2    you.   You know the man you have been and the man you want to

    3    be.

    4               I don't think you're a bad person.          I agree that

    5    you've made bad decisions and have done bad things and so I

    6    don't just consider the past or the bad.           I try to find the

    7    good and see if there can be a different future and most

    8    important I think you want a different future and it has to

    9    start with you.     You also have support.       Your mom has gotten

  10     her life on track and the two of you now appear to have a

  11     positive relationship and she can be a source of support in the

  12     future.    She indicated that she plans to move to Tennessee and

  13     have you move there with her so you can get out of a bad

  14     environment that has surrounded you.          Your dad's letter

  15     indicates that he's overcome his addiction and he wants to help

  16     if you all are able to form a relationship, but they are also

  17     examples that you can overcome a life of addiction.

  18                You're in good physical health.         You have taken

  19     responsibility here.       As the government notes, you were only 20

  20     when you committed these offenses so there's certainly room for

  21     maturity and decision-making.        We can get you treatment and

  22     counseling for your substance abuse issues which have

  23     contributed to many of the problems in your life.            You have

  24     some goals.     You enjoy art and drafting and would like to

  25     pursue drafting design, something else that you should be able
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    1    to work toward while you finish your time in prison.             You

    2    earned your G.E.D.      You've completed some helpful courses and

    3    programs while in prison.

    4               You've been with the same woman for many years and

    5    are now engaged to her.       She's had her own substance abuse

    6    struggles, but remains supportive of you.           You're also a father

    7    and report having a relationship with your daughter and wanting

    8    to be there for your son.        So far, being away from them has not

    9    impacted your behavior yet either inside or outside of prison,

  10     but I do think as you've started to mature that you do

  11     appreciate and recognize if you want to have a life with your

  12     children, your conduct has to change and Dr. Segrue has opined

  13     that your prognosis for rehabilitation is guarded, that you may

  14     have the potential to turn your life around, but you've not yet

  15     demonstrated an interest or determination to live a prosocial

  16     life, but with appropriate mental health treatment and academic

  17     and vocational training, coupled with careful supervision, that

  18     he believes your risk of recidivism can be managed effectively.

  19                You are facing significant time still on the state

  20     offenses and significant time here which will keep the public

  21     safe while you continue to work on turning your life around.

  22     Those are other factors that I have to consider.            I recognize

  23     that there is a chance this could have been an offense that may

  24     not have occurred had you been charged with this conduct in

  25     2015 and not in 2018 and that relates to the intervening
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    1    offense for which you're now serving the state time and I do

    2    consider that as well.       I appreciate the government bringing up

    3    the recent case I had with another defendant who was in a

    4    similar situation and I did provide a variance there and so I

    5    do consider as well the need to avoid unwarranted sentencing

    6    disparities and so considering all of what we call the 3553(a)

    7    factors, the sentencing factors that I have to consider, I will

    8    grant a downward variance on count six.          I will then accept the

    9    Rule 11 Plea Agreement with the understanding that the sentence

  10     here will not exceed 152 months and so considering all of those

  11     factors, Mr. Adcock, the Court is going to sentence you as

  12     follows.

  13                Pursuant to the sentencing reform act of 1984, the

  14     Court, considering the sentencing guidelines and factors

  15     contained in 18 United States Code, section 3553(a), hereby

  16     commits you to the custody of the United States Bureau of

  17     Prisons for a term of 60 months on count six and 60 months on

  18     count 12 to be served consecutive to one another.            Count 12

  19     shall also be consecutive to your undischarged term of

  20     imprisonment with the Michigan Department of Corrections and

  21     count six will be concurrent to your undischarged term of

  22     imprisonment with the Michigan Department of Corrections.

  23                I will recommend that you be designated to a facility

  24     with a comprehensive drug treatment program.           Once you're

  25     released from jail, I'm going put you on supervised release for
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    1    a term of two years on each count to be served concurrent to

    2    each other.     You will have to pay a special assessment of 100

    3    dollars per count so 200 dollars which will be due immediately.

    4    I am going to waive the imposition of a fine, the cost of

    5    incarceration and the cost of supervision due to your lack of

    6    financial resources.       I will order mandatory drug testing.

    7               Pursuant to the law 34 United States Code, Section

    8    40702, I will also order that you cooperate with the collection

    9    of a DNA sample as directed by the probation officer and during

  10     the period of time that you're on supervised release, the two

  11     years, you will have to abide by the standard conditions that

  12     have been adopted by this Court and I'm going to impose the

  13     following special conditions swelling.          Due to the nature of

  14     the offense and the need to protect the public, I will have you

  15     submit your person, residence, office, vehicle, papers,

  16     business or any place of employment and any property under your

  17     control to a search.       That search will be conducted by a United

  18     States probation officer at a reasonable time and in a

  19     reasonable manner based on reasonable suspicion of contraband

  20     or evidence of a violation of a condition of release.             Failure

  21     to submit to such a search may be grounds for revocation and

  22     you'll have to warn any residents that the premises may be

  23     subject to search and due to your reported history of mental

  24     health problems, I will order that you participate in a mental

  25     health treatment program and follow the rules and regulations
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    1    of that program.      The probation officer in consultation with

    2    the treatment provider will supervise your participation in

    3    that program.

    4               You'll have to submit to a psychological psychiatric

    5    evaluation as directed by the probation officer if necessary

    6    and due to your past drug use, I will order that you

    7    participate in a substance abuse treatment program and follow

    8    the rules and regulations of that program.           Again, the

    9    probation officer in consultation with the treatment provider

  10     will supervise your participation in that program and you'll

  11     have to submit to substance abuse testing to determine if you

  12     have used a prohibited substance.         Also pursuant to the terms

  13     of the parties' Rule 11 Plea Agreement I will dismiss counts

  14     seven, eight, nine, 10 and 11 and so let me ask the lawyers

  15     with that sentence, are there any objections that have not

  16     previously been raised?       Mr. Longsworth?

  17                MR. LONGSWORTH:      No objections, your Honor.

  18                THE COURT:     And Mr. Sabbota?

  19                MR. SABBOTA:     No, your Honor.

  20                THE COURT:     All right.    I will also advise Mr. Adcock

  21     that because the sentence that I just imposed does not exceed

  22     the top of the guideline range called for in the parties' Rule

  23     11 Plea Agreement, I don't believe that under the terms of your

  24     Rule 11 Plea Agreement that you have a right to appeal the

  25     sentence, but that is an issue you should discuss with your
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    1    lawyer and to the extent that you do believe there is any right

    2    of appeal, you would have to file any notice of appeal within

    3    14 days of the date that I issue final judgment in this matter

    4    or 14 days of any notice of appeal that's filed by the

    5    government and if you're unable to pay for the cost, you may

    6    apply for leave to appeal without prepayment of the cost and

    7    you may also seek assistance from the clerk if need be.

    8               All right.     Then with that, counsel, is there

    9    anything further we need to do on this matter today?

  10     Mr. Longsworth?

  11                MR. LONGSWORTH:      Nothing further, your Honor.

  12                THE COURT:     And Mr. Sabbota?

  13                MR. SABBOTA:     Nothing further other than I believe

  14     Mr. Adcock wants to go back into the state prison system so we

  15     have to discharge the writ.

  16                THE COURT:     All right.    Mr. Longsworth?

  17                MR. LONGSWORTH:      I release the writ, your Honor.

  18                THE COURT:     Okay, we'll do that and I should have

  19     asked Mr. Sabbota do you have any recommendation or want to

  20     make a request for a placement recommendation?            I did recommend

  21     and do want him to go to a place with a drug treatment program.

  22                MR. SABBOTA:     Well, I would ask for Milan, but I

  23     don't know that he'll be classified for Milan based on his

  24     history, but that would make it easier for the family because

  25     it's the institution in the state.
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    1               THE COURT:     Right and I wasn't sure if the mother was

    2    going to be moving to Tennessee, if there was any facility --

    3               MR. SABBOTA:     Well, right now his fiance's here which

    4    is the most important woman in his life.

    5               THE COURT:     All right.      I'll make the recommendation

    6    to Milan and let me ask probation, anything further from

    7    probation?

    8               PROBATION REPRESENTATIVE:         Nothing further, your

    9    Honor.

  10                THE COURT:     Mr. Adcock, you expressed that this is

  11     unfortunately the third time that your mother has watched you

  12     be sentenced and that you don't want there to be another.               None

  13     of us do either and so we wish you well.           Take care of yourself

  14     and good luck to you and the family.

  15                THE DEFENDANT:     Thank you.

  16                THE COURT:     All right.

  17                MR. SABBOTA:     Thank you.

  18                (Sentencing concluded at 4:18 p.m.)

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     1                           C E R T I F I C A T E

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     7               I, David B. Yarbrough, Official Court

     8   Reporter, do hereby certify that the foregoing pages

     9   comprise a true and accurate transcript of the

    10   proceedings taken by me in this matter on Monday,

    11   October 7th, 2019.

    12

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    14

    15

    16   10/7/2019                        /s/ David B. Yarbrough

    17   Date                             David B. Yarbrough,
                                          (CSR, RPR, FCRR, RMR)
    18                                    231 W. Lafayette Blvd.
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